                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION

MICHAEL G. VOGT, Individually and                            )
On Behalf of All Others Similarly Situated,                  )
                                                             )
                 Plaintiff,                                  )
                                                             )
                                                             )
        v.                                                   )
                                                             )        Case No. 16-4170-CV-C-NKL
                                                             )
STATE FARM LIFE INSURANCE                                    )
COMPANY,                                                     )
                                                             )
                 Defendant.                                  )

      PLAINTIFFS’ MOTION TO ESTABLISH QUALIFIED SETTLEMENT FUND
                     AND APPOINT ADMINISTRATOR 1

        Plaintiffs, by and through undersigned Class Counsel, hereby move the Court for an

Order to: (1) establish the State Farm Missouri COI Qualified Settlement Fund (“QSF”) as a

qualified settlement fund pursuant to Internal Revenue Code § 468B and Treasury Regulations §

1.468B-1 et seq. for the purpose of collecting from Defendant the common fund secured for the

Class that includes the $34,322,414.84 judgment, post judgment interest provided by statute, and

prejudgment interest in an amount to be determined by the Court upon resolution of Plaintiffs’

Motion for Application of Prejudgment Interest (Doc. 423), and to distribute to each Class

Member their share of the common fund, less a pro-rata reduction for any attorneys’ fees and

non-taxable expenses awarded to Class Counsel and any service award to Mr. Vogt, pursuant to

the plan of allocation adopted by the Court (Doc. 404 at 5-6); and (2) appoint Angeion Group as

administrator of the QSF. In support of their Motion, Plaintiffs state as follows:



1
 Despite repeated attempts to reach a stipulation regarding the establishment of a qualified settlement fund, State
Farm has not confirmed its position as of the time of this filing.



          Case 2:16-cv-04170-NKL Document 429 Filed 09/28/20 Page 1 of 5
       1.      Mr. Vogt and Class Counsel secured a common fund for the Class that includes

the $34,322,414.84 judgment, post-judgment interest provided by statute, and prejudgment

interest, the latter of which is subject of a separate motion before the Court.

       2.      Pursuant to the plan of allocation adopted by the Court, each Class Member will

receive their share of the damages as awarded by the jury, plus pre and post judgment interest,

less a pro rata reduction for any attorneys’ fees and non-taxable expenses awarded to Class

Counsel and for any service award to Mr. Vogt. Doc. 404 at 5-6 (approving plan of allocation).

       3.      With this motion, Plaintiffs request that the Court enter its Order establishing the

QSF as a qualified settlement fund under Internal Revenue Code § 468B and Treasury

Regulations § 1.468B-1 et seq.

       4.      The QSF shall be a qualified settlement fund under Internal Revenue Code §

468B and Treasury Regulations 1.468B-1 et seq. because: (1) the QSF is being established

subject to approval of this Court and is subject to the continuing jurisdiction of this Court; (2) the

QSF is being established to satisfy the Class Members’ claims arising out of a tort and/or breach

of contract; and (3) the QSF will be an account whose assets will be segregated from the general

assets of Defendant State Farm Life Insurance Company.

       5.      Class Counsel further moves the Court to appoint Angeion Group (“Angeion”) as

the administrator (“Administrator”) of the QSF to administer the QSF in accordance with the

Plan of Allocation adopted by the Court (Doc. 404 at 5-6) and the terms of any contemplated or

necessary Qualified Settlement Fund Agreement to be executed among Angeion and Class

Counsel. The Administrator shall also serve as the administrator within the meaning of Treasury

Regulations § 1.468B-2(k).




                                   2
         Case 2:16-cv-04170-NKL Document 429 Filed 09/28/20 Page 2 of 5
       6.      In addition to being experienced in the application of complex claim calculations

and tax withholding and reporting (Ex. A, Devery Dec. at ¶ 4), Angeion is experienced in serving

as a court-appointed qualified settlement fund administrator managing all aspects of account

setup, management, disbursement, tax filing, and fund closing procedures. Id. at ¶ 5. And, given

its prior involvement and experience communicating with the Class in this case, the Court

previously appointed Angeion to oversee the distribution of net funds to the Class. Doc. 404 at 6.

       7.      Class Counsel requests that Angeion serve as the Administrator without bond.

       8.      The funds to be held in the QSF are the sole property of the QSF. Until such time

as funds are distributed from the QSF, Class Members shall not possess any rights to demand or

receive any portion of the funds held in the QSF and shall not possess any right to mortgage,

pledge, or encumber the same in any manner. To facilitate any necessary tax reporting, and upon

request by the Administrator, State Farm shall promptly provide the social security numbers of

Class Members as needed. Class Counsel will not be privy to any transfer of social security

numbers. To the extent possible, this Motion shall be construed so as to prevent Class Members

from being in constructive receipt, as determined under federal income tax principles, of any

amounts held by the QSF.

       9.      Upon final distribution of all funds received into the QSF and allocated to Class

Members, the Administrator shall take appropriate steps to wind down the QSF and thereafter be

discharged from any further responsibility with respect to the QSF. The Administrator may, but

shall not be obligated to, seek a final order of discharge from this Court.

       10.     The cost to establish and administer the QSF including the distribution of the

judgment will be paid by the common fund or as otherwise ordered by the court.




                                   3
         Case 2:16-cv-04170-NKL Document 429 Filed 09/28/20 Page 3 of 5
       WHEREFORE, Plaintiffs respectfully pray that the Court enter its Order to: (1) establish

the State Farm Missouri COI Qualified Settlement Fund (“QSF”) as a qualified settlement fund

pursuant to Internal Revenue Code § 468B and Treasury Regulations § 1.468B-1 et seq.; and (2)

appoint Angeion Group as administrator of the QSF, and for such other and further relief the

Court deems just and proper.



Dated: September 28, 2020                  Respectfully submitted,

                                           MILLER SCHIRGER, LLC

                                           /s/ John J. Schirger
                                           John J. Schirger              MO Bar # 60583
                                           Matthew W. Lytle              MO Bar # 59145
                                           Joseph M. Feierabend          MO Bar # 62563
                                           4520 Main Street, Suite 1570
                                           Kansas City, Missouri 64111
                                           Telephone:      816-561-6500
                                           Facsimile:      816-561-6501
                                           Email:          jschirger@millerschirger.com
                                           Email:          mlytle@millerschirger.com
                                           Email:          jfeierabend@millerschirger.com

                                           - And -

                                           Norman E. Siegel            MO Bar # 44378
                                           Lindsay Todd Perkins        MO Bar # 60004
                                           Ethan M. Lange              MO Bar # 67857
                                           STUEVE SIEGEL HANSON LLP
                                           460 Nichols Road, Suite 200
                                           Kansas City, Missouri 64112
                                           Telephone:    816-714-7100
                                           Facsimile:    816-714-7101
                                           Email:        siegel@stuevesiegel.com
                                           Email:        perkins@stueveseigel.com
                                           Email:        lange@stueveseigel.com

                                           Attorneys for Plaintiffs




                                  4
        Case 2:16-cv-04170-NKL Document 429 Filed 09/28/20 Page 4 of 5
                                CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2020, I filed the foregoing document via the

Court’s ECF system, which will cause a true and correct copy of the same to be served

electronically on all ECF-registered counsel of record.

                                             /s/ John J. Schirger
                                             Attorney for Plaintiffs




                                   5
         Case 2:16-cv-04170-NKL Document 429 Filed 09/28/20 Page 5 of 5
